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                             UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW HAMPSHIRE

*************************
Kerri A. Gannon,         *
       Plaintiff         *
                         *
v.                       *                    Case No. 1:20-cv-00859-PB
                         *
Catholic Medical Center, *
       Defendant         *
*************************

                    STIPULATION OF DISMISSAL WITH PREJUDICE

       The parties to the above-entitled action hereby stipulate that said action be dismissed with

prejudice pursuant to F. R. Civ. P. 41 (a)(1) (A)( ii) and F. R. Civ. P. 41 (a)(1) (a)(B) and without

costs. All rights of appeal are hereby waived.

 Respectfully submitted,                             Respectfully submitted,
 KERRI A. GANNON                                     CATHOLIC MEDICAL CENTER
 By her attorneys,                                   By its attorneys,

 /s/ Benjamin T. King                                /s/ K. Joshua Scott
 Benjamin T. King, NH Bar #12888                     K. Joshua Scott, NH Bar #17479
 DOUGLAS, LEONARD & GARVEY, P.C.                     JACKSON LEWIS, P.C.
 14 South Street, Suite 5                            100 International Drive, Suite 363
 Concord, NH 03301                                   Portsmouth, NH 03801
 (603) 224-1988                                      (603) 559-2700
 benjamin@nhlawoffice.com                            joshua.scott@jacksonlewis.com

 Date: May 2, 2022                                   Date: May 2, 2022


                                 CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing document was served this date upon all counsel
of record via the ECF filing system.

                                                       /s/ Benjamin T. King
                                                       Benjamin T. King




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